Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 1 of 19 PageID #: 4718

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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION

       UNILOC 2017, LLC                                      §     CIVIL CASE NOS. 2-18-cv-00491, 492,
            Plaintiff,                                       §     493, 494, 495, 496, 497, 499, 500, 501,
         v.                                                  §      502, 503, 504, 548, 550, 551, 552, 553
                                                             §
       GOOGLE LLC,                                           §                FILED UNDER SEAL
           Defendant.                                        §
                                                             §            JURY TRIAL DEMANDED




     SUR-REPLY OPPOSING GOOGLE LLC’S MOTION TO DISMISS FOR LACK OF
   STANDING AND IMPROPER VENUE UNDER RULES 12(B)(1), 12(B)(3) AND 12(B)(6)1




   1
     To avoid simply repeating arguments already addressed in its response, Uniloc does not address every argument
   raised in Google’s reply. By not addressing every issue in this sur-reply, Uniloc is not waiving any argument raised
   in its response. Uniloc is not conceding, for example, that nexus is required by the venue statute. Rather, the issue
   has already been addressed by Uniloc’s response and need not be addressed again.
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 2 of 19 PageID #: 4719
                 FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER


                                                           Table of Contents


   I.     Google’s challenge to constitutional standing fails .............................................................1

          A.         The new cases cited in Google’s reply do not hold that parties to an
                                                                            .........................................1

          B.         Google misconstrues                                                              ...............................................2

               1.         Google’s claim that the parties
                                                                                                  misconstrues the plain language
                          of the                                                 .....................................................................2

               2.         Google’s own interpretation of
                                                 ......................................................................................4

          C.         Any                                                                   ..........................................................4

          D.         A right to sublicense would not deprive Uniloc of constitutional standing .............6

   II.    Google’s challenge to statutory standing fails .....................................................................7

   III.   Venue is proper ....................................................................................................................8

          A.         Google’s GGC servers and the place they occupy are regular and established
                     places of business of Google....................................................................................8

          B.                                                                           Google’s regular and established
                     places of business ...................................................................................................11

               1.         The                           are “of the defendant.”. ......................................................11

               2.         The                           are a physical place ............................................................12

               3.         The                           are places of Google’s business. ........................................13

          C.         The                                     is a regular and established place of business of Google
                     ................................................................................................................................13

          D.         Uniloc adequately alleged acts of infringement.....................................................14




                                                                         ii
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 3 of 19 PageID #: 4720
                           FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER


                                                      Table of Authorities


   Cases


   Intel v. Negotiated Data Solutions,
     699 F. Supp. 2d 871, 873–74 (E.D. Tex. 2010) ...................................................................... 1, 2

   IOENGINE, LLC v. PayPal Holdings, Inc.,
     CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del. Jan. 25, 2019). ........................................ 14

   Kibler v. Transcon. & W. Air,
     63 F. Supp. 724, 726 (E.D.N.Y. 1945) ...................................................................................... 13

   Lean Sols. Inst., Inc. v. Fed. Reserve Bank of Atlanta,
     1:12-CV-0775-SCJ, 2012 WL 13014637, at *2 (N.D. Ga. Mar. 19, 2012). ............................... 2

   Nano-Proprietary, Inc. v. Canon, Inc.,
     537 F.3d 394, 399 (5th Cir. 2008). .............................................................................................. 1

   SEVEN Networks, LLC v. Google LLC,
     315 F. Supp. 3d 933 (E.D. Tex. 2018) .............................................................................. 8, 9, 12

   Super Interconnect Techs. LLC v. Google LLC,
     2:18-CV-00462-JRG, 2019 WL 3717683 (E.D. Tex. Aug. 7, 2019) ...................................... 8, 9

   Timkey v. City of Lockport,
     167 A.D.3d 1490, 1491, 90 N.Y.S.3d 757, 758–59 (N.Y. App. Div. 2018) ............................... 2

   Westmoreland Coal Co. v. Entech, Inc,
    100 N.Y.2d 352, 358, 794 N.E.2d 667, 670 (2003) .................................................................... 4




                                                                    iii
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 4 of 19 PageID #: 4721

                     FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER

       I.      GOOGLE’S CHALLENGE TO CONSTITUTIONAL STANDING FAILS.
            Google’s reply brief fails to salvage Google’s challenges to constitutional standing. Google

   cannot get around the simple fact that

                                                                     Even if it could,


            A. The new cases cited in Google’s reply do not hold that parties to an
                     may not mutually agree to terminate the license.
            Google is unable to cite a single case holding parties to an                                   cannot

   mutually agree to terminate that license. Uniloc’s response cites ample authority to the contrary,

   showing that                              prevents unilateral revocation of an agreement by one party,
   not a mutual termination by the parties. See Resp. at 4-5. Uniloc’s response also points out that

   the cases cited in Google’s motion support the same principle. Id. Google’s reply abandons the

   cases cited in its motion and cites several new cases, but Google’s new cases fare no better than

   its old ones.

            The case on which Google’s reply primarily relies, Nano-Proprietary, did not involve

   an “issue similar to that here,” as Google claims. Rather (like those cited in Google’s motion), it

   involved one party’s attempt to unilaterally terminate an irrevocable agreement based on a material

   breach by the other party. Nano-Proprietary, Inc. v. Canon, Inc., 537 F.3d 394, 399 (5th Cir.

   2008) (“Nano argued before the district court that Canon breached the PLA when it permitted SED

   to use the licensed patents. Because of this breach, Nano sought termination of the PLA.”)

   (emphasis added). The court found Nano could not unilaterally terminate the agreement

   “notwithstanding a material breach of the agreement” by the other party. Id. The other cases cited

   out of context in Google’s string cite also did not find parties to an irrevocable agreement were

   prevented from mutually terminating it.1 Indeed, none of the cases even involved an irrevocable


   1
           In Intel, the court noted certain licenses survived “expiration” of a license agreement because the
   license agreement expressly stated that “in the event of expiration of the term of this Agreement . . . the
   licenses and mutual releases granted pursuant to this Agreement . . . shall survive . . . for the lives of . . .
   NATIONAL PATENTS.” Intel v. Negotiated Data Solutions, 699 F. Supp. 2d 871, 873–74 (E.D. Tex.

                                                          1
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 5 of 19 PageID #: 4722

                     FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER

   agreement or a mutual termination of such an agreement.2 There simply is no authority to support

   Google’s position. Instead, courts have rejected the very argument Google makes, finding it

   “stretche[s] credulity” and ignores the basic principle of contract law that parties to an agreement

   are free to mutually reform that agreement. Reply at 4-5.
             B. Google misconstrues
             In an attempt to support its misinterpretation of


             1. Google’s claim that the parties could only
                                                                 misconstrues the plain language of

             Google first argues the parties




   2010). Intel did not interpret the meaning of “irrevocable” (a word that appears nowhere in the opinion) or
   involve a situation where, as here, the parties mutually agreed to terminate a license.
            In Timkey, the plaintiff sued his former employer (the City of Lockport) for medical benefits under
   a collective bargaining agreement. The City argued the plaintiff lost his medical benefits when, after 21
   years of employment, he left the City’s employ. The court found the plaintiff’s right to medical benefits
   vested when he satisfied criteria under the collective bargaining agreement, and there was no language in
   the agreement suggesting that he lost those benefits by changing jobs. The opinion does not contain the
   word “irrevocable” and does not interpret its meaning. Timkey v. City of Lockport, 167 A.D.3d 1490, 1491,
   90 N.Y.S.3d 757, 758–59 (N.Y. App. Div. 2018)
            Lean Solutions involved FRBA’s unilateral termination of all existing work orders from its
   independent contractor, LSI, and the parties’ dispute concerning whether FRBA could continue to use LSI’s
   intellectual property after the termination. Lean Sols. Inst., Inc. v. Fed. Reserve Bank of Atlanta, 1:12-CV-
   0775-SCJ, 2012 WL 13014637, at *2 (N.D. Ga. Mar. 19, 2012).
   2
       Id.
                                                        2
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 6 of 19 PageID #: 4723

                  FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER




   Turner Decl., Ex. A.




                                        3
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 7 of 19 PageID #: 4724

                   FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER

          Finally, Google is asking this Court to distort




          2. Google’s own interpretation of




          C.
          As explained in Uniloc’s response,




   3
    Westmoreland Coal Co. v. Entech, Inc., 100 N.Y.2d 352, 358, 794 N.E.2d 667, 670 (2003) (“The
   meaning of a writing may be distorted where undue force is given to single words or phrases[.]”)
                                                      4
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 8 of 19 PageID #: 4725

                    FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER




             One paragraph after arguing a self-serving declaration “cannot change the documented

   facts,”




   4




                                                  5
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 9 of 19 PageID #: 4726

                  FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER




          D.                        would not deprive Uniloc of constitutional standing.
          As already explained in Uniloc’s response, Mann plainly states that there is always a

   category one plaintiff and nothing in Morrow supports a contrary conclusion. Resp. at 10-11.

   Google’s reply contains no meaningful attempt to explain away Mann, much less rebut Uniloc’s

   discussion of Morrow. See Resp. at 11, n.16.

          Google’s attempt to distinguish Aspex also fails. Google insists it is distinguishable

   because the agreement in Aspex had a “reversionary interest.” (The “reversionary interest” stated

   that unless terminated earlier, the agreement would end on March 6, 2003.). The court found




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Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 10 of 19 PageID #: 4727

                  FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER

   Chic’s rights, however substantial in other respects, were valid only for a limited time.




       II.    GOOGLE’S CHALLENGE TO STATUTORY STANDING FAILS.




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Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 11 of 19 PageID #: 4728

                     FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER




             Google’s statutory standing arguments are baseless. Even if they had merit, the solution

   to a lack of statutory standing is joinder, not dismissal.
      III.       VENUE IS PROPER.
             Venue is proper in this District because Google has committed acts of infringement here

   and has a regular and established place of business here.
             A. Google’s GGC servers and the place they occupy are regular and established
                places of business of Google.
             Regarding the November Cases, Google has already admitted the GGC servers are regular

   and established places of Google if this Court applies the same analysis it applied in SEVEN and

   in Super Interconnect. See Resp. at 13-14. Google argues for the first time in its reply that



                                                  Arguments introduced for the first time in a reply are

   not properly before this Court and should be disregarded. Google’s attempt to paint this argument

                                                      8
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 12 of 19 PageID #: 4729

                  FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER

   as a reply to Uniloc’s response is unconvincing since the allegations on which it is based were

   known to Google before Google filed its motion. Even considering this new argument, it should

   be rejected for the reasons articulated in SEVEN and Super Interconnect.

          Regarding the December Cases, the GGC serves were also regular and established places

   of Google as of the date of filing. Google now admits that after the GGC servers were drained on

   November 23, 2018,




                                                                         Super Interconnect Techs.

   LLC v. Google LLC, 2:18-CV-00462-JRG, 2019 WL 3717683, at *2 (E.D. Tex. Aug. 7, 2019)

   (explaining SEVEN). Google is

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Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 13 of 19 PageID #: 4730

               FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER




   7




                                        10
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 14 of 19 PageID #: 4731

                    FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER




                                                                                                          e

   also Resp. at 14.
           B. Google’s                                          are Google’s regular and established
              places of business.
           Google’s                                      are Google’s regular and established places of

   business.


                   1. The                 are “of the defendant.”
           Google insists the                   do not satisfy the “of the defendant” factor under Cray

   because Google does not “own[] or lease[]” them, but the evidence shows Google uses




               It cannot be the case, as Google insists, that a “lease” agreement satisfies the “place of

   the defendant” factor under Cray




   10



                                                                             iloc is, therefore, not seeking
   an adverse inference.
                                                    11
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 15 of 19 PageID #: 4732

                  FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER




                                             ny businesses do not have title to their place of business.




                            Resp. at 19-21; see also Resp. at 16-18.



   this Court already determined in SEVEN that Cray does not require employees to work at the

   regular and established place of the defendant’s business.
      2. The                  are a physical place.
          The                are a “physical place” under Cray.




                                                   12
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 16 of 19 PageID #: 4733

                   FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER




      3. The                   are places of Google’s business.
          As explained in Uniloc’s respons




                                . Kibler v. Transcon. & W. Air, 63 F. Supp. 724, 726 (E.D.N.Y. 1945)

   (opining, under a different statute that, “a railroad is a resident of every county where it operates,

   where it has a place of business, where it runs, where it owns property and runs its road, [and]

   through which its line passes”) (quotations omitted).




          C. The                          is a regular and established place of business of Google.
          Google does not dispute that the                     is a physical place, that it is regularly

   established, or that it is a place of business. It disputes only whether it is “Google’s place of

   business.” Reply at 11. Google does not dispute th




                                                    13
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 17 of 19 PageID #: 4734

                   FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER

   Google merely disputes Google’s conclusion. Google likewise claims




                       us, Google holds the facility out as its own.
        D. Uniloc adequately alleged acts of infringement.
           Google’s reply claims it described how Uniloc failed to adequately allege acts of

   infringement and criticizes Uniloc for responding with broad legal arguments. The broad legal

   arguments in Uniloc’s response are, however, rebuttals to the same broad legal errors contained in

   each of Google’s motions where Google claims Uniloc failed to adequately allege infringement.

   Google does not meaningfully respond to these arguments in its reply.            Google does not, for

   instance, provide any legal support for its erroneous claim that pre-suit knowledge is required for

   induced or contributory infringement. It is not. See Resp. at 27.

           Google claims that prior complaints, which were later dismissed, could not give it pre-suit

   knowledge because Rule 41(a) dismissals “render the proceedings a nullity and leave the parties

   as if the action had never been brought.” Reply at 16. A Rule 41(a) dismissal makes the prior

   proceedings a legal nullity; it does not erase events that occurred in the past. Uniloc does not point

   to the prior lawsuits as evidence of any legal effect of those proceedings. Rather, they demonstrate

   the fact that Google had pre-suit knowledge – a fact Google does not deny. To the extent

   necessary, Uniloc is willing to amend its complaints to specifically mention the prior cases that

   gave Google pre-suit knowledge but sees little purpose in requiring such a formality given the fact

   of Google’s undisputed pre-suit knowledge.11




   11
     See e.g., IOENGINE, LLC v. PayPal Holdings, Inc., CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del.
   Jan. 25, 2019) (“The Court sees no purpose that would be served by the formality of requiring IOENGINE
   to file an amended complaint in order to be allowed to assert knowledge of the patents during the period
   following the filing of the original complaint.”).
                                                      14
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 18 of 19 PageID #: 4735

                 FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER

                                         CONCLUSION

         For the foregoing reasons, Google’s motions to dismiss should be denied.



   Dated: November 26, 2019                  Respectfully submitted,

                                             /s/ James L. Etheridge

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                                                15
Case 2:18-cv-00491-JRG-RSP Document 147 Filed 11/30/19 Page 19 of 19 PageID #: 4736

                  FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER

                                  CERTIFICATE OF SERVICE

          I certify that the foregoing document was served upon all counsel of record via the Court's

   CM/ECF electronic filing system in accordance with the Federal Rules of Civil Procedure on

   November 26, 2019.
                                                               /s/ Ryan S. Loveless
                                                               Ryan S. Loveless



                           CERTIFICATE OF FILING UNDER SEAL

          I certify that this motion was filed under seal pursuant to the protective order entered in
   each respective case.



                                                       /s/ Ryan S. Loveless
                                                       Ryan S. Loveless




                                                  16
